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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

COMMISSIONED OFFICERS
ASSOCIATION OF THE UNITED STATES
PUBLIC HEALTH SERVICE,

                     Plaintiff                 Case No. 21-cv-00853 (JDB)

       v.

LONNIE G. BUNCH, III, in his official
Capacity as Secretary of the Smithsonian
Institution, et al.,
                      Defendants




 PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
    ITS MOTION FOR RECONSIDERATION OF THE COURT’S JUDGMENT
                    DISMISSING ITS COMPLAINT




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                                       INTRODUCTION
        Plaintiff Commissioned Officers’ Association of the United States Public Health Service

(“Plaintiff”) filed suit against Defendants Lonnie G. Bunch III, et al. (“Defendants”) on March

30th, 2021. ECF 1, Plaintiff’s Complaint. Defendants filed their Motion to Dismiss in response

on July 16th, 2021. ECF 6, Defendants’ Motion to Dismiss. In it, Defendants raised, among other

arguments, a claim that Plaintiff had failed to establish standing. See id. Plaintiff filed its

opposition to Defendants’ motion on January 24 th, 2022. ECF 11, Plaintiff’s Opposition to

Defendants’ Motion to Dismiss. Plaintiff defended its claim to standing on both organizational

and representational grounds. See id. Plaintiff supported its claim for representational standing

on the grounds that specific individuals within its organization had standing to sue the

Defendants in their own right. Id. at 23. Defendants filed their reply on March 25th, 2022. ECF

14, Defendants’ Reply. In it, Defendants raised for the first time an argument that Plaintiff had

not alleged sufficient facts to establish representational standing because Plaintiff had not

submitted affidavits from the individuals identified. See id. at 9; compare ECF 4.

        The Court granted Defendants’ motion to dismiss on March 30 th, 2022. ECF 15, Order

Granting Defendants’ Motion to Dismiss. In its memorandum opinion, the Court held that

Plaintiff lacked organizational standing, and also held that Plaintiff lacked representational

standing, on the grounds that Plaintiff had not submitted affidavits from the individuals in

question. ECF 16, Memorandum Opinion.

        Plaintiff now moves this Court, under Federal Rule of Civil Procedure (F.R.C.P.) 59(e),

to reconsider its judgment and either alter or amend it. Plaintiff raises two arguments in support

of this. First, the judgment was based on legal error because the Court improperly entertained a

new argument raised solely via reply, which the Plaintiff had no opportunity to respond to.

Second, that Plaintiff has submitted new evidence, via affidavits from the individuals cited,

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which establish personal representation, and which were not previously easily available, due to

the clouds hanging over whether submission of the affidavits would violate Touhy v. Regan.

                                          ARGUMENT
       A motion to reconsider a judgment is determined under Federal Rule of Civil Procedure

59(e) when it is brought within ten days of the entry of a judgment. See, e.g. Sieverding v. ABA,

239 F.R.D. 288, 289 Fn. 2 (D.D.C. 2006); see also Mwani v. Bin Laden, U.S. Dist. LEXIS 26556

at *5 Fn. 2 (D.D.C. September 30, 2003). This time is calculated based on F.R.C.P. 6(a). See

Sieverding, 239 F.R.D. at 289 Fn. 2. The judgment in this matter was entered on March 30 th,

2022. ECF 15. Under F.R.C.P. 6(a)(1)(A), time limits exclude the day of the event triggering the

time period, meaning that the deadline for Plaintiff’s Motion for Reconsideration to be

determined under F.R.C.P. 59(e) is Saturday, April 10 th, 2022. See, id.; see also Mwani, U.S.

Dist. LEXIS 26556 at *5 Fn. 2. This motion has been filed prior to that date, rendering it timely

for consideration under F.R.C.P. 59(e) instead of F.R.C.P. 60. Id.

       A.      The Court’s should reconsider its judgment because Defendants improperly
               first raised the arguments concerning the lack of submitted affidavits in their
               reply.

       F.R.C.P. 59(e) grants a court discretionary authority to alter or amend a judgment on the

grounds of an intervening change in controlling law, the availability of new evidence, the need to

correct a clear legal error, or to prevent manifest injustice. See Ciralsky v. CIA, 355 F.3d 661 at

671 (D.C. Cir. 2004) (citing Firestone v. Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996)). Here,

the Court held that Plaintiff had failed to allege sufficient facts to establish representational

standing on the grounds that Plaintiff had not submitted affidavits from the individuals identified

as having personal claims against the Defendants. ECF 16 at 7-9. It is a well-established doctrine

in the D.C. Circuit that a party is not allowed to raise new arguments within a reply brief. See,




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e.g., Herbert v. National Academy of Sciences, 974 F.2d 192, 196 (D.C. Cir. 1992). This is

because the opposing party lacks the opportunity to respond to those arguments themselves. Id.

The Defendants completely failed to raise within their Motion to Dismiss the argument that

Plaintiff’s complaint should be dismissed because Plaintiff had not submitted the affidavits in

question. See ECF 4, Defendants’ Motion to Dismiss (showing zero mention at all of affidavits).

The first time this argument emerged was in their reply to Plaintiff’s opposition. See ECF 14 at

9. The Court’s ruling on representational standing was, in effect, based on an argument raised in

ambush on the Plaintiff, which it had no opportunity to respond to, and where it had little notice

that it needed to fully explain the situation at hand. See id.; see ECF 16 at 7-9. This was a clear

legal error under the controlling precedent of this circuit. See Herbert, 974 F.2d at 196

       This defect cannot be cured via this Court’s right to raise the issue of standing sua sponte.

See Frank v. Gaos, 139 S. Ct. 1041, 1046 (2019). The Plaintiff fully acknowledges that this

Court could raise the issue of the lack of affidavits on its own, even without the Defendants

having raised it. See id. However, even then, the Plaintiff should have still had the opportunity to

respond, including via provision of the affidavits, once the Court had informed the Plaintiff of its

position that Touhy did not apply to this matter. See ECF 16, Memorandum Opinion Granting

Defendants’ Motion to Dismiss at 7 (Plaintiff will go into additional detail concerning the Touhy

question in section B).

       Given this, the Court should correct this legal error by altering or amend its judgment to

strike the consideration of an argument improperly raised in ambush by reply. See Ciralsky, 355

F.3d at 671; see Herbert, 974 F.2d at 196. It should do so by ruling on representational standing

(and the related issues) on the grounds raised within the Defendants’ initial motion and the

Plaintiff’s opposition, and in light of the submitted affidavits. See id.




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       B.      The Court should reconsider its judgment under F.R.C.P. 59(e) because
               Plaintiff has submitted affidavits from the individuals identified within its
               opposition alongside this motion, these affidavits were only held back
               because of reasonable caution as to whether they could be submitted, and the
               affidavits show that Plaintiff can establish representational standing.

               1.      This Court should consider the attached affidavits from the
                       individuals originally identified within Plaintiff’s Opposition on the
                       grounds of them being new evidence and on the grounds of the
                       prevention of manifest injustice.

       As stated before, F.R.C.P. 59(e) grants a court discretionary authority to alter or amend a

judgment on the grounds of the availability of new evidence or the prevention of manifest

injustice. See Ciralsky v. CIA, 355 F.3d 661 at 671 (D.C. Cir. 2004) (citing Firestone v.

Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996)). As stated before, the Court held that Plaintiff

could not establish representational standing (and thus could not show standing at all, due to its

finding that Plaintiff also lacked organizational standing) on the narrow grounds of the failure to

submit affidavits. ECF 16 at 8-9. Prior to the Court’s ruling, Plaintiff had not done so due to the

high complexity involved in determining whether or not the individuals cited could submit an

affidavit under Touhy. U.S. PHS and NOAA officers are frequently detailed to other U.S.

agencies and fall under their jurisdiction while detailed. See 42 U.S.C. § 215(a). Plaintiff was

uncertain, for example, whether the Affidavit of Captain Smiley, attached to this motion, would

result in him facing troubles under the Department of Health and Human Services’ Touhy

implementing regulation 45 C.F.R. § 2.4. Out of caution for the personnel willing to testify, the

Plaintiff chose to identify them and their willingness to testify but did not provide affidavits.

ECF 11, Plaintiff’s Motion in Opposition at 17-18. However, the Court has resolved this

question via its ruling. ECF 16 at 7.




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       Given the complexity and legal uncertainty involved, the reasonable prudence Plaintiff

had been using, and the fact that the individuals identified actually have provided affidavits

(showing that Plaintiff’s claims were not mere idle talk), this Court should consider the affidavits

to be relevant new evidence which merit reconsideration. Should the Court not consider the

affidavits to be relevant new evidence, it should still reconsider its judgment on the grounds that

dismissal where the affidavits promised are provided, and where the affidavits had been held

back due to reasonable concerns, would be a manifest injustice. Due to the cloud surrounding

whether they could be submitted in the first place, it cannot be said that this situation could have

been “easily avoided” from the Plaintiff’s perspective. Contra Ciralsky, 355 F.3d at 665.

               2.      The attached affidavits show that Plaintiff can establish
                       representational standing.

       Attached to this motion are the affidavits of the two members identified by the Plaintiff

within their Opposition to the Defendants Motion to Dismiss. See ECF 11 at 23-4; see Exhibit 1,

Affidavit of Commander James Brinkley (“CDR Brinkley”), NOAA; see Exhibit 2, Affidavit of

Captain Clarence Smiley (“CAPT Smiley”), USPHS. Plaintiff can establish representational

standing via both of these individuals, given that (a) they would have standing to sue on their

own right, (b) their interests are germane to Plaintiff’s purpose, and (c) neither the claim asserted

nor the relief requested requires their participation. See Friends of Animals v. Ashe, 174 F. Supp.

3d 20, 28 (D.D.C. 2016).

                       a.      Both individuals who have provided affidavits would have
                               standing to sue in their own right.

       CDR Brinkley is a commissioned officer within the National Oceanic and Atmospheric

Administration (NOAA). See Exhibit 1. As stated within Plaintiff’s opposition, Plaintiff also

engages on behalf of NOAA commissioned officers, given that the small size of the NOAA


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commissioned officer corps is insufficient to maintain an association of their own. ECF 11 at 23.

As noted by Plaintiff within its opposition, CDR Brinkley testifies as to the injury he has

suffered through the Defendants refusal to include NOAA and the USPHS on the monument. See

Exhibit 1. This injury is the erasure and denigration of his military service and veteran status and

the lack of recognition by national institutions of the contributions of Native NOAA and USPHS

service members. Id. As detailed by Plaintiff in its opposition, this denigration and erasure

produces both internal and external injury, given the frequent denial, out of ignorance, of veteran

or military benefits to NOAA and USPHS service members. See ECF 11 at 21-25. This harm

grants CDR Brinkley standing to sue in his own right. Id.

       In addition, CAPT Smiley of the USPHS testifies via affidavit as to his full-fledged

support for Plaintiff’s efforts to ensure that fellow Native USPHS officers receive recognition

within the monument, especially in light of the services they perform on Native American

reservations. See Exhibit 2. For the reasons stated above and in Plaintiff’s opposition, this lack of

recognition again qualifies CAPT Smiley for individual standing, given the harm it imposes. See

ECF 11 at 21-25.

                       b.      Their interests are germane to Plaintiff’s purpose.

       Plaintiff represents and advocates for the rights and recognition of both NOAA and

USPHS officers and veterans. Both individuals have raised injuries related explicitly to the lack

of recognition offered to the service of NOAA and USPHS officers and veterans and seek for

representation of their veteran status through inclusion on the monument. In short, the interests

raised by CDR Brinkley and CAPT Smiley are clearly germane to Plaintiff’s purposes.

                       c.      Neither the lawsuit, nor the relief requested, requires the
                               individual participation of the two individuals.




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         Neither of the two individuals in this matter would be required to individually participate

in this lawsuit, as the harm Plaintiff seeks to prevent is not particularized but is instead shared by

the entire class of Native NOAA and USPHS officers and veterans. In addition, neither of the

two individuals would be required to participate in the relief requested, given that the relief

involves the addition of the seals to the monument, not individual relief. Given that Plaintiff has

also shown that the individuals would have standing to sue in their own right, and that their

interests are germane to its purpose, Plaintiff has thus met the requirements for representational

standing. See Friends of Animals, 174 F. Supp. 3d at 28.

                                         CONCLUSION
         Wherefor, for the reasons set out above, Plaintiff respectfully requests that this Court

reconsider its order dated March 30th, 2022, and either alter or amend it through full

consideration of the issue of representational standing in light of the affidavits submitted.

Dated:          April 8th, 2022                        Respectfully submitted,


                                                       /s/DavidP.Sheldon
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Notice of Service of this Opposition to
 Defendants’ Motion to Dismiss was electronically served on the following counsels for the
 Defendants on April 8th, 2022:

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